Case 1:18-cv-05624-HG-VMS Document 22-2 Filed 07/15/19 Page 1 of 3 PageID #: 91




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------ x
  WING KAM LI,
  on his own behalf and on behalf of others similarly
  situated,
                                               Plaintiff,                Case No. 18-cv-04614

             v.                                                          PROPOSED CERTIFICATE
  KINGLY COACH, INC. d/b/a Kingly Coach; and                             OF DEFAULT
  BWJ GROUP INC.;
  SUNG AE KIM,
  ANDY MENG, and
  DAE KUN YI

                                               Defendants.
  ------------------------------------------------------------------ x

          I, Douglas C. Palmer, Clerk of the United States District Court for the Eastern District of

 New York, do hereby certify that the docket entries in the above entitled action indicate

 that the Complaint was filed on August 15, 2018, and that the Summons was issued on August

 15, 2018; that Corporate Defendant KINGLY COACH, INC. d/b/a Kingly Coach; and BWJ

 GROUP INC.; was properly served the Summons and Complaint pursuant to Rule 4(h)(1)(B) of

 the Federal Rules of Civil Procedure on October 10, 2018 and the proof of service was

 submitted to the Court on Ocotber 12, 2018. (See Docket No. 08-10).

          I further certify that a review of the docket entries indicates that the time for Corporate

 Defendants KINGLY COACH, INC. d/b/a Kingly Coach; and BWJ GROUP INC.; to answer or

 otherwise move with respect to the Complaint expired on November 10, 2018.

          The default of Defendants KINGLY COACH, INC. d/b/a Kingly Coach; and is hereby

 noted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.



 Dated:               , 20
          New York, New York



                                                          1
Case 1:18-cv-05624-HG-VMS Document 22-2 Filed 07/15/19 Page 2 of 3 PageID #: 92




                                          Douglas C. Palmer
                                          Clerk of the Court



                                    By:
                                          Deputy Clerk




                                       2
Case 1:18-cv-05624-HG-VMS Document 22-2 Filed 07/15/19 Page 3 of 3 PageID #: 93




                                       3
